                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )
vs.                                           )   CASE NO. 3:07-00084
                                              )   JUDGE KEVIN H. SHARP
PRESTON DEJUAN DOUGLAS                        )


                                         ORDER

       Pending before the Court is an Unopposed Motion to Continue the January 31 Revocation

Hearing (Docket No. 71).

       The motion is GRANTED and the revocation hearing scheduled for January 31, 2013 is

hereby rescheduled for Monday, April 15, 2013, at 2:30 p.m.

       IT IS SO ORDERED.



                                           KEVIN H. SHARP
                                           UNITED STATES DISTRICT JUDGE




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